
647 S.E.2d 613 (2007)
Stanley Lorenzo WILLIAMS
v.
Robert W. SMITH, Supt., and Theodis Beck, Secretary of N.C. Dept. of Correction.
No. 290P07.
Supreme Court of North Carolina.
June 22, 2007.
Stanley Lorenzo Williams, Pro Se.
Christopher W. Brooks, Assistant Attorney General, for NC Dept. of Correction.

ORDER
Upon consideration of the application filed by Plaintiff on the 20th day of June 2007 in this matter for Writ of Habeas Corpus, the following order was entered and is hereby certified to the Superior Court, Cabarrus County:
"Denied by order of the Court in conference, this the 22nd day of June 2007."
